                                                      Case 3:23-cv-03836-CRB Document 82 Filed 04/23/24 Page 1 of 2



                                           1    J. Jonathan Hawk (SBN 254350)
                                                jhawk@mwe.com
                                           2    MCDERMOTT WILL & EMERY LLP
                                                2049 Century Park East, Suite 3200
                                           3    Los Angeles, CA 90067-3206
                                                Telephone:    1 310 277 4110
                                           4    Facsimile:    1 310 277 4730

                                           5    Attorneys for Plaintiff X CORP.

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                                           8                               UNITED STATES DISTRICT COURT

                                           9                            NORTHERN DISTRICT OF CALIFORNIA

                                           10   X CORP., a Nevada corporation,             CASE NO. 3:23-cv-03836-CRB
                                           11   Plaintiff,                                 PLAINTIFF X CORP.’S NOTICE OF
MCDERMOTT WILL & EMERY LLP




                                                                                           APPEAL
                                           12           v.
                        ATTORNEYS AT LAW
                          LOS ANGELES




                                           13   CENTER FOR COUNTERING DIGITAL
                                                HATE, INC., a Washington D.C. non-profit
                                           14   corporation; CENTER FOR COUNTERING
                                                DIGITAL HATE LTD., a British non-profit
                                           15   organization; STICHTING EUROPEAN
                                                CLIMATE FOUNDATION; and DOES 1 through
                                           16   50, inclusive,
                                           17                        Defendants.
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                                                                                                                       NOTICE OF APPEAL
                                                                                                            CASE NO. 3:23-CV-03836-CRB
                                                     Case 3:23-cv-03836-CRB Document 82 Filed 04/23/24 Page 2 of 2



                                           1           NOTICE IS HEREBY GIVEN that plaintiff X Corp. hereby appeals to the United States

                                           2    Court of Appeals for the Ninth Circuit from the Judgment entered on March 25, 2024 (ECF 77),

                                           3    and into which are integrated the following Orders: (1) Order Granting CCDH Motion to Dismiss

                                           4    and Strike (ECF 75, entered March 25, 2024); and (2) Order Granting ECF Motion to Dismiss

                                           5    (ECF 76, entered March 25, 2024, with the foregoing, attached as Exhibit A).

                                           6           X Corp.’s Notice of Appeal from a Judgment or Order of a United States District Court

                                           7    (Form 1) and Representation Statement (Form 6) are attached to this Notice, as Exhibits B and C,

                                           8    respectively.

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                                           10   Dated: April 23, 2024                       ______________________________
                                                                                                  J. Jonathan Hawk (SBN 254350)
                                           11
MCDERMOTT WILL & EMERY LLP




                                                                                                  MCDERMOTT WILL & EMERY LLP
                                           12                                                     2049 Century Park East, Suite 3200
                        ATTORNEYS AT LAW




                                                                                                  Los Angeles, CA 90067-3206
                          LOS ANGELES




                                           13                                                     (310) 788-4181
                                                                                                  jhawk@mwe.com
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                                                                                                   Attorney for Plaintiff X Corp.
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                                                                                                                                     NOTICE OF APPEAL
                                                                                                                          CASE NO. 3:23-CV-03836-CRB
